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 6   Attorneys for Defendant
     KIEDOCK KIM
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                 IN THE UNITED STATES DISTRICT COURT FOR THE
 9
                            EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                     CASE NO: 2:10-CR-0255 GEB

12                      Plaintiff,
                                                   STIPULATION AND [PROPOSED]
13         v.                                      ORDER CONTINUING STATUS
                                                   CONFERENCE AND EXCLUDING
14   FRENCH GULCH NEVADA MINING                    TIME UNDER THE SPEEDY TRIAL
     CORPORATION, BULLION RIVER                    ACT
15   GOLD CORPORATION, PETER                       _______________________________
     MARTIN KUHN, and KIEDOCK KIM,
16
                        Defendants.
17
     _____________________________/
18

19         The defendant, KIEDOCK KIM, through his counsel of record, Segal & Kirby

20   LLP, and plaintiff United States of America, through its counsel, Assistant United

21   States Attorney Samuel W ong, agree and stipulate that the Status Conference

22   currently set for December 17, 2010, at 9:00 a.m. may be continued to February 18,

23   2011, at 9:00 a.m. in order to permit the parties to review and complete the

24   exchange of discovery, to allow the defense to review the voluminous discovery

25   provided to date, including additional discovery recently produced by the

26   government, and to prepare the case for further proceedings.

27         The parties agree a continuance is necessary for these purposes, and

28   accordingly, both parties further agree and stipulate that time should be excluded
                                            1
         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 24 Filed 12/10/10 Page 2 of 3

 1   from December 17, 2010, through February 18, 2011 from computation under the

 2   Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local Code

 3   T4 (ongoing preparation of defense counsel) due to the need to provide defense

 4   counsel with the reasonable time to prepare taking into account the exercise of due

 5   diligence.

 6         IT IS SO STIPULATED.

 7
     Dated: December 9, 2010                Respectfully submitted,
 8
                                            SEGAL & KIRBY LLP
 9

10                                   By:    /s/ Malcolm Segal
                                            MALCOLM SEGAL
11                                          Attorneys for Defendant
                                            KIEDOCK KIM
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13
                                     By:    /s/ Samuel W ong
14   Dated: December 9, 2010                SAMUEL W ONG
                                            Assistant United States Attorney (per
15                                          authorization)

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17
                                             ORDER
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19         UPON GOOD CAUSE SHOW N and the stipulation of all parties, it is ordered

20   that the Status Conference currently set for December 17, 2010, at 9:00 a.m. be

21   continued to February 18, 2011, at 9:00 a.m.. Based upon the representation of the

22   parties, including defense counsel, and good cause appearing therefrom, the Court

23   hereby finds that it is unreasonable to expect adequate preparation for pretrial

24   proceedings and trial itself within the time limits established in 18 U.S.C. § 3161, and

25   the requested continuance is necessary to provide defense counsel reasonable time

26   necessary for effective preparation, taking into account the exercise of due diligence.

27   The Court finds the ends of justice to be served by granting a continuance outweigh

28   the best interests of the public and the defendant in a speedy trial.
                                             2
         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
       Case 2:10-cr-00255-TLN Document 24 Filed 12/10/10 Page 3 of 3

 1         It is therefore ordered that the time from December 17, 2010 up to and

 2   including the February 18, 2011 Status Conference shall be excluded from

 3   computation of time within which the trial of this matter must be commenced under

 4   the Speedy Trial Act pursuant to 18 U.S.C. § 3161(h)(7)(A) and (B)(iv) and Local

 5   Code T4 (ongoing preparation of defense counsel).

 6   Dated: December 10, 2010
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 8                                      GARLAND E. BURRELL, JR.
                                        United States District Judge
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         STIPULATION AND [PROPOSED] ORDER CONTINUING STATUS CONFERENCE AND
                      EXCLUDING TIME UNDER THE SPEEDY TRIAL ACT
